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PROPOSED ORDER

Based upon the representations of counsel and for good cause shown, the Court grants the
defense request to move sentencing in this matter to any date convenient to the court beyond May 10,
2022 to ensure defense counsel and the defendant are able to complete the necessary and timely
submission of all documents necessary for sentencing, taking into account the exercise of due diligence.
18 U.S.C. §3161(h)(7)(B)(iv). Therefore, and with the consent of the defense and the United States,

IT IS SO ORDERED.

DATED:

HONORABLE Raymond P. Moore
United States District Judge

